                              Case 3:21-mj-00032            Document 1-1          Filed 02/04/21        Page 1 of 2

$2 5HY $UUHVW:DUUDQW



                                            81,7(' 67$7(6 ',675,&7 &2857
                                                                      IRUWKH

                                                              'LVWULFWRI&ROXPELD                USDOR Case No. 3:21-mj-00032

                    8QLWHG6WDWHVRI$PHULFD
                               Y
                                                                                  &DVH1R
                          Jeffrey Grace



                               Defendant


                                                           $55(67:$55$17
7R      $Q\DXWKRUL]HGODZHQIRUFHPHQWRIILFHU

          <28$5(&200$1'('WRDUUHVWDQGEULQJEHIRUHD8QLWHG6WDWHVPDJLVWUDWHMXGJHZLWKRXWXQQHFHVVDU\GHOD\
(name of person to be arrested)                                                  Jeffrey Grace                                                
ZKRLVDFFXVHGRIDQRIIHQVHRUYLRODWLRQEDVHGRQWKHIROORZLQJGRFXPHQWILOHGZLWKWKHFRXUW

u ,QGLFWPHQW                u 6XSHUVHGLQJ,QGLFWPHQW           u ,QIRUPDWLRQ        u 6XSHUVHGLQJ,QIRUPDWLRQ              ;
                                                                                                                           u &RPSODLQW
u 3UREDWLRQ9LRODWLRQ3HWLWLRQ                  u 6XSHUYLVHG5HOHDVH9LRODWLRQ3HWLWLRQ       u 9LRODWLRQ1RWLFH           u 2UGHURIWKH&RXUW

7KLVRIIHQVHLVEULHIO\GHVFULEHGDVIROORZV


18 U.S.C. 1752 (a)(1) Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful
Authority

                                                                                                                2021.01.28
'DWH           01/28/2021
                                                                                                                16:48:29 -05'00'
                                                                                                 Issuing officer’s signature

&LW\DQGVWDWH                         :DVKLQJWRQ'&                              =LD0)DUXTXL860DJLVWUDWH-XGJHB_
                                                                                                                        _
                                                                                                  Printed name and title


                                                                      5HWXUQ

           7KLVZDUUDQWZDVUHFHLYHGRQ(date)                              DQGWKHSHUVRQZDVDUUHVWHGRQ (date)
DW (city and state)                                               

'DWH
                                                                                              Arresting officer’s signature



                                                                                                  Printed name and title
                             Case 3:21-mj-00032            Document 1-1         Filed 02/04/21     Page 2 of 2

$2 5HY $UUHVW:DUUDQW 3DJH




                       7KLVVHFRQGSDJHFRQWDLQVSHUVRQDOLGHQWLILHUVSURYLGHGIRUODZHQIRUFHPHQWXVHRQO\
                       DQGWKHUHIRUHVKRXOGQRWEHILOHGLQFRXUWZLWKWKHH[HFXWHGZDUUDQWXQOHVVXQGHUVHDO

                                                           (Not for Public Disclosure)

1DPHRIGHIHQGDQWRIIHQGHUJeffrey Grace
.QRZQDOLDVHV
/DVWNQRZQUHVLGHQFH                  22318 NE 150th Court, Battle Ground, Washington

3ULRUDGGUHVVHVWRZKLFKGHIHQGDQWRIIHQGHUPD\VWLOOKDYHWLHV


/DVWNQRZQHPSOR\PHQW
/DVWNQRZQWHOHSKRQHQXPEHUV                  360.903.4737

3ODFHRIELUWK
'DWHRIELUWK            3/20/1959
6RFLDO6HFXULW\QXPEHU                   
+HLJKW           5Ft. 7inches                                             :HLJKW       195lbs

6H[       Male                                                            5DFH     White

+DLU      Bald                                                            (\HV     Blue

6FDUVWDWWRRVRWKHUGLVWLQJXLVKLQJPDUNV             Tattoos on both arms.




+LVWRU\RIYLROHQFHZHDSRQVGUXJXVH              N/A


.QRZQIDPLO\IULHQGVDQGRWKHUDVVRFLDWHV(name, relation, address, phone number)


)%,QXPEHU
&RPSOHWHGHVFULSWLRQRIDXWR


,QYHVWLJDWLYHDJHQF\                          Special Agent T. Michael Class Jr. - 202-309-7258

,QYHVWLJDWLYHDJHQF\DGGUHVV      9325 Discovery Boulevard, Manassas, Virginia 20109
1DPH DQGWHOHSKRQHQXPEHUV RIILFHDQGFHOO RISUHWULDOVHUYLFHVRUSUREDWLRQ RIILFHU (if applicable)




'DWHRIODVWFRQWDFWZLWKSUHWULDOVHUYLFHVRUSUREDWLRQRIILFHU(if applicable)
